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2JS 44 (Rev. 11/04)                                                          CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

I. (a)       PLAINTIFFS                                                                                        DEFENDANTS
    Walter E. Dellinger, Jr. and Lori L. Dellinger (plaintiffs)                                                United States of America, Karli Richards, Richards Orthopaedic Center and Sports
    The Chambersburg Hospital and Summit Health (third party plaintiffs)                                       Medicine, LLC, The Chambersburg Hospital, Wound Center, and Summit Health
    (b) County of Residence of First Listed Plaintiff              Franklin County                             County of Residence of First Listed Defendant
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                            (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                       NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
     (c)     Attorney's (Firm Name, Address, and Telephone Number)
                                                                                                                              LAND INVOLVED.
 Richard Angino, Angino Law Firm, 4503 North Front Street, Harrisburg, PA 17101 (for                           Attorneys(If Known)
 plaintiffs)
   (c) Attorney’s (Firm Name, Address, and Telephone Number)                                                Samuel S. Dalke,
                                                                                                              Attorneys       USAO, 228 Walnut Street, Suite 220, Harrisburg PA 17108; Kevin
                                                                                                                        (If Known)
                                                                                                            Osborne, Marshall Dennehey, 100 Corporate Center Drive, Suite 201, Camp Hill, PA
 Kevin Osborne, Marshall Dennehey, 100 Corporate Center Drive, Suite 201, Camp Hill,                        17011; Michael Badowski, Margolis Edelstein, 3510 Trindle Road, Camp Hill, PA
 PA 17011 (for third party plaintiffs)                                                                      17011
II. BASIS OF JURISDICTION                           (Place an “X” in One Box Only)                III. CITIZENSHIP OF PRINCIPAL PARTIES(Place an “X” in One Box for Plaintiff
                                                                                                            (For Diversity Cases Only)                                    and One Box for Defendant)
u1         U.S. Government               u 3 Federal Question                                                                         PTF     DEF                                        PTF      DEF
             Plaintiff                            (U.S. Government Not a Party)                        Citizen of This State          u 1     u 1    Incorporated or Principal Place      u 4 u4
                                                                                                                                                     of Business In This State

u2         U.S. Government               u 4 Diversity                                                 Citizen of Another State      u 2       u 2   Incorporated and Principal Place     u 5      u 5
             Defendant                                                                                                                                  of Business In Another State
                                                  (Indicate Citizenship of Parties in Item III)
                                                                                                       Citizen or Subject of a       u 3       u 3   Foreign Nation                       u 6      u 6
                                                                                                         Foreign Country
IV. NATURE OF SUIT                   (Place an “X” in One Box Only)
            CONTRACT                                         TORTS                                     FORFEITURE/PENALTY                       BANKRUPTCY                     OTHER STATUTES
u   110 Insurance                        PERSONAL INJURY                  PERSONAL INJURY              u 610 Agriculture                u 422 Appeal 28 USC 158         u   400 State Reapportionment
u   120 Marine                       u    310 Airplane                 u 362 Personal Injury -         u 620 Other Food & Drug          u 423 Withdrawal                u   410 Antitrust
u   130 Miller Act                   u    315 Airplane Product              Med. Malpractice           u 625 Drug Related Seizure              28 USC 157               u   430 Banks and Banking
u   140 Negotiable Instrument                Liability                 u 365 Personal Injury -                of Property 21 USC 881                                    u   450 Commerce
u   150 Recovery of Overpayment      u    320 Assault, Libel &              Product Liability          u   630 Liquor Laws                   PROPERTY RIGHTS            u   460 Deportation
       & Enforcement of Judgment             Slander                   u 368 Asbestos Personal         u   640 R.R. & Truck             u 820 Copyrights                u   470 Racketeer Influenced and
u   151 Medicare Act                 u    330 Federal Employers’            Injury Product             u   650 Airline Regs.            u 830 Patent                           Corrupt Organizations
u   152 Recovery of Defaulted                Liability                      Liability                  u   660 Occupational             u 840 Trademark                 u   480 Consumer Credit
       Student Loans                 u    340 Marine                    PERSONAL PROPERTY                     Safety/Health                                             u   490 Cable/Sat TV
       (Excl. Veterans)              u    345 Marine Product           u 370 Other Fraud               u   690 Other                                                    u   810 Selective Service
u   153 Recovery of Overpayment              Liability                 u 371 Truth in Lending                      LABOR                  SOCIAL SECURITY               u   850 Securities/Commodities/
        of Veteran’s Benefits        u    350 Motor Vehicle            u 380 Other Personal            u   710 Fair Labor Standards     u 861 HIA (1395ff)                     Exchange
u   160 Stockholders’ Suits          u    355 Motor Vehicle                 Property Damage                   Act                       u 862 Black Lung (923)          u   875 Customer Challenge
u   190 Other Contract                       Product Liability         u 385 Property Damage           u   720 Labor/Mgmt. Relations    u 863 DIWC/DIWW (405(g))               12 USC 3410
u   195 Contract Product Liability   u    360 Other Personal                Product Liability          u   730 Labor/Mgmt.Reporting     u 864 SSID Title XVI            u   890 Other Statutory Actions
u   196 Franchise                            Injury                                                           & Disclosure Act          u 865 RSI (405(g))              u   891 Agricultural Acts
      REAL PROPERTY                        CIVIL RIGHTS                 PRISONER PETITIONS             u   740 Railway Labor Act          FEDERAL TAX SUITS             u   892 Economic Stabilization Act
u   210 Land Condemnation            u    441 Voting                   u 510 Motions to Vacate         u   790 Other Labor Litigation   u 870 Taxes (U.S. Plaintiff     u   893 Environmental Matters
u   220 Foreclosure                  u    442 Employment                      Sentence                 u   791 Empl. Ret. Inc.               or Defendant)              u   894 Energy Allocation Act
u   230 Rent Lease & Ejectment       u    443 Housing/                     Habeas Corpus:                      Security Act             u 871 IRS—Third Party           u   895 Freedom of Information
u   240 Torts to Land                        Accommodations            u   530 General                                                       26 USC 7609                       Act
u   245 Tort Product Liability       u    444 Welfare                  u   535 Death Penalty                                                                            u   900Appeal of Fee Determination
u   290 All Other Real Property      u    445 Amer. w/Disabilities -   u   540 Mandamus & Other                                                                                Under Equal Access
                                             Employment                u   550 Civil Rights                                                                                    to Justice
                                     u    446 Amer. w/Disabilities -   u   555 Prison Condition                                                                         u   950 Constitutionality of
                                             Other                                                                                                                             State Statutes
                                     u    440 Other Civil Rights

V. ORIGIN                    (Place an “X” in One Box Only)                                                                                                                             Appeal to District
                                                                                                                   Transferred from                                                     Judge from
u1         Original      u 2     Removed from               u 3 Remanded from                     u4
                                                                                             Reinstated or               u 5
                                                                                                                   another district    u 6 Multidistrict                      u 7       Magistrate
           Proceeding            State Court                    Appellate Court              Reopened              (specify)                  Litigation                                Judgment
                                         Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
VI. CAUSE OF ACTION                         28 U.S.C. 1346, 1442 and 2672, 2679 and 42 U.S.C. 233
                                            Brief description of cause:
                      Third party complaint seeking indemnification/contribution for tort case alleging medical malpractice
VII. REQUESTED IN     u CHECK IF THIS IS A CLASS ACTION        DEMAND $                        CHECK YES only if demanded in complaint:
     COMPLAINT:           UNDER F.R.C.P. 23                                                    JURY DEMAND:         ✔ Yes
                                                                                                                    u         u No
VIII. RELATED CASE(S)
                        (See instructions):
      IF ANY                                JUDGE Kane                                   DOCKET NUMBER 17-cv-1537

DATE                                                                        SIGNATURE OF ATTORNEY OF RECORD
    11/02/2018                                                             /s/ Samuel S. Dalke
FOR OFFICE USE ONLY

    RECEIPT #                    AMOUNT                                      APPLYING IFP                                    JUDGE                          MAG. JUDGE
